     Case: 1:24-cv-00087 Document #: 57 Filed: 07/22/24 Page 1 of 2 PageID #:1805


                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HOWARD ROBINSON,

       Plaintiff,                                               Case No.: 1:24-cv-00087

v.                                                              Judge John Robert Blakey

THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Beth W. Jantz
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                    DEFENDANT
                77                                     yangongfa


DATED: July 22, 2024                                Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 W. Jackson Blvd., #2W
                                                    Chicago, Illinois 60604
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                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-00087 Document #: 57 Filed: 07/22/24 Page 2 of 2 PageID #:1806


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 22, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
